                               Case 17-24030         Doc 11     Filed 10/24/17      Page 1 of 1

                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF MARYLAND
                                             at Greenbelt
                                      In re:    Case No.: 17−24030 − WIL        Chapter: 7

Natieya Davis
Debtor


                                               DEFICIENCY NOTICE
DOCUMENT:                  1 − Chapter 7 Voluntary Petition Individual Filed by Natieya Davis . Section 521(i)(1)
                           Incomplete Filing date: 12/4/2017. (Hegerle, Robert)

PROBLEM:                   The following items are deficient for the above pleading, and must be cured by 11/7/17.
                           Missing the County of Residency.

CURE:                      Amend the Voluntary Petition to include the county of residency.

CONSEQUENCE: Failure to cure the problem(s) by the date above may result in the pleading being stricken or
             other action the Court deems appropriate without further notice. For a proposed order, the failure
             to cure the problem(s) may result in the relief sought being denied for want of prosecution.


Additional information on filing requirements: http://www.mdb.uscourts.gov/content/filing−requirements.
Additional information for non−attorney filers: http://www.mdb.uscourts.gov/content/after−filing.

Dated: 10/24/17
                                                                 Mark A. Neal, Clerk of Court
                                                                 by Deputy Clerk, Robert Hegerle
                                                                 301−344−3399
cc:    Debtor
       Attorney for Debtor − PRO SE

defntc (rev. 12/12/2016)
